                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )       No. 3:09-CR-64
 V.                                                   )       (PHILLIPS/GUYTON)
                                                      )
 WENDY VANCE,                                         )
                                                      )
                        Defendant.                    )


                        ORDER CONTINUING PRETRIAL RELEASE

                The above-named defendant appeared before the undersigned on March 5, 2010, for

 a hearing on a Petition for Action on Conditions of Pretrial Release (“the Petition”) [Doc. 208].

 Assistant United States Attorney Melissa Millican was present representing the government.

 Attorney Donny Young was present representing the defendant.

                The defendant Vance was placed on pretrial release in August, 2009, pursuant to an

 Order [Doc. 104] of this Court. The defendant’s release was subject to certain conditions, including

 but not limited to, the following: that she participate in a program of substance abuse therapy and

 counseling at The Foundry Rescue Mission and Recovery Center in Bessemer, Alabama (“The

 Foundry”).

                In the Petition, United States Probation Officer Rhonda Monger Lay (“Lay”) states

 that the defendant Vance self-reported to The Foundry the consumption of a beer on February 12,

 2010. An alcohol screen, however, was negative. Therefore, Vance’s self-report was the only

 evidence against her. The Court credits her for the self-report.

                However, the alcohol use violated the rules of The Foundry. The Foundry suspended

 her from its program, and she is not eligible to return to The Foundry until March 18, 2010.




Case 3:09-cr-00064-TWP-HBG           Document 211         Filed 03/05/10     Page 1 of 2      PageID
                                           #: 704
               At the hearing, Vance did not dispute the allegations of the Petition. She testified that

 she wants to return to the program and complete it.

               The Court finds that the defendant Vance violated Condition 8(p) of her conditions

 of release. The Court finds, however, that the violation was minor and was self-reported.

               Accordingly, the Order Setting Conditions of Release [Doc. 104] REMAINS IN

 EFFECT.

               IT IS SO ORDERED.

                                                       ENTER:


                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




                                                 -2-


Case 3:09-cr-00064-TWP-HBG           Document 211         Filed 03/05/10       Page 2 of 2       PageID
                                           #: 705
